                      Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 1 of 31
AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT                                          FILED
                                                             for the                                         Jan 28,
                                                                                                             Aug 28, 2022
                                                                                                                     2023
                                                                                                          CLERK, U.S. DISTRICT COURT

                                                    Eastern District of California
                                                                                                        EASTERN DISTRICT OF CALIFORNIA




                   United States of America
                              v.
                                                                  )
                                                                  )
                                                                  )        Case No.
                                                                                            SEALED
                                                                                                 2:23-mj-0121 CKD
                                                                  )
             JEREMY MICHAEL BENNER                                )
                                                                  )
                                                                  )
                            Defendant(s)


                                              CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   July 13, 2023               in the county of                 Solano                         in the
        Eastern          District of        California       , the defendant(s) violated:

             Code Section                                                    Offense Description
        18 U.S.C. § 922(g)(1)                                          Felon in possession of a Firearm




          This criminal complaint is based on these facts:

          See Affidavit of FBI Special Agent Nathan Cernat, attached hereto and incorporated by reference.




            ☒ Continued on the attached sheet.


                                                                                  /s/
                                                                                              Complainant’s signature

                                                                                        Nathan Cernat, FBI Special Agent
                                                                                               Printed name and title

Sworn to me and signed via telephone.


Date:       August 28, 2023 at 1:30 pm
                                                                                               Judge’s signature

City and state:         Sacramento, CA                                          Carolyn K. Delaney, U.S. Magistrate Judge
                                                                                         Printed name and title
         Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 2 of 31


                                                        CONTENTS

I.     INTRODUCTION ................................................................................................................ 1

II.    AGENT BACKGROUND .................................................................................................... 1

III.   PROBABLE CAUSE............................................................................................................ 3

       September 13, 2022 Controlled Buy of Two Ounces of Cocaine from
             BENNER................................................................................................3

       September 27, 2022 Controlled Buy of 1,000 MDMA Pills from BENNER....4

       October 18, 2022 Controlled Buy of 2,000 MDMA Pills from BENNER
             (Supplied by J.S.) ...................................................................................5

       February 13, 2023 Buy of 2,000 MDMA Pills from BENNER (Supplied by
              ANTONIO WARREN) ..........................................................................8

       March 8, 2023 Controlled Buy of Ten Ounces of Cocaine from BENNER
             (Supplied by A.C.) and a Ruger Firearm .............................................11

       April 20, 2023 Controlled buy of 2,000 MDMA pills and a firearm from
              BENNER and WARREN ....................................................................13

       April 28, 2023 Controlled buy of an AR-15 Rifle from BENNER .................14

       July 13, 2023 Controlled Buy of a Ruger LCR Revolver from BENNER ......16

       August 9, 2023 Controlled Buy of 2,000 MDMA Pills from BENNER and
             WARREN ............................................................................................17

       BENNER is a Prohibited Person under § 922(g)(1) ........................................19

       Interstate Nexus ...............................................................................................19

       Training and Experience Regarding Drug/Firearm Trafficking and
              Drug/Firearms Traffickers ...................................................................19

       Training and Experience Regarding Computers, Electronic Storage, And
              Forensic Analysis .................................................................................22

IV.    REQUEST FOR SEALING................................................................................................ 26

V.     CONCLUSION ................................................................................................................... 28
                 Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 3 of 31


 1       AFFIDAVIT IN SUPPORT OF APPLICATIONS UNDER RULE 41 FOR WARRANTS TO
             SEARCH AND SEIZE AND UNDER RULE 4 FOR A WARRANT TO ARREST
 2

 3                                            I.     INTRODUCTION
 4          I, Nathan Cernat, being first duly sworn, hereby depose and state as follows:
 5          1.       I make this affidavit in support of an application under Rule 41 of the Federal Rules of
 6 Criminal Procedure for a warrant to search the following people, premises, and property:

 7     Attachment                  Target Person / Residence / Vehicle
 8    A-1         JEREMY MICHAEL BENNER (“BENNER”)

 9    A-2             ANTONIO MARKETH WARREN (“WARREN”)

10    A-3             1926 Griffin Dr., Vallejo, CA 94589 (“WARREN’s RESIDENCE”)

11    A-4             A 2001 White Lexus, bearing the California License Plate 4UNW083 (“BENNER’s
                      LEXUS”)
12
      A-5             A 2002 Gray Honda, bearing the California License Plate 8RXZ319 (“WARREN’s
13                    HONDA”)

14    A-6             A 2021 Silver Toyota, bearing the California License Plate 8WOD012 (WARREN’s
                      TOYOTA)
15

16          2.       These people and property are further described in Attachments A-1 through A-6. The

17 applications seek to search them for the things described in Attachment B-1 through B-6. This affidavit

18 also supports my application for a complaint and an arrest warrant of BENNER for being a felon in

19 possession of a firearm in violation of 18 U.S.C. § 922(g)(1).
20          Based on my training and experience and the facts as set forth in this affidavit, there is probable

21 cause to believe that violations of 21 U.S.C. §§ 841 and 846 (conspiracy to distribute and possess with

22 intent to distribute controlled and/or counterfeit substances) have been committed by JEREMY

23 MICHAEL BENNER (BENNER), ANTONIO MARKETH WARREN (WARREN) and A.C. In addition,

24 there is probable cause to believe that violations of 18 U.S.C. § 922(g)(1) – felon in possession of firearms

25 or ammunition, and 18 U.S.C. § 922(a)(1)(A) – illegal firearms trafficking have been committed by

26 BENNER. Collectively the violations described above will be referred to as the “TARGET OFFENSES.”

27                                      II.        AGENT BACKGROUND

28          3.       I am a Special Agent of the United States Department of Justice, Federal Bureau of


      AFFIDAVIT
                                                          1
                 Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 4 of 31


 1 Investigation (the “FBI”). I have been an FBI Special Agent since April 2015. As such, I am an

 2 “investigative or law enforcement officer” within the meaning of 18 U.S.C. § 2510(7), in that I am an

 3 officer of the United States empowered by law to conduct criminal investigations and make arrests for

 4 offenses enumerated in 18 U.S.C. § 2516. I am currently assigned to the FBI’s Sacramento Division,

 5 Fairfield Resident Agency, where I work as part of the FBI’s Solano County Violent Crime Task Force.

 6 In this role, I am responsible for investigating a variety of criminal matters, to include violent criminal

 7 enterprises such as street gangs and organized crime.

 8          4.       I was trained as an FBI Special Agent at the FBI Academy in Quantico, Virginia. During
 9 my training, I received training in Title 21 of the United States Code, including Sections 841(a)(1) and

10 846. During my employment as an FBI Special Agent, I have participated in numerous criminal

11 investigations. I have also participated in numerous investigations involving the use of federal and state

12 search warrants to collect evidence, including controlled substances, the seizure of narcotics-related

13 records, and other types of evidence that document the activities of criminal organizations in both the

14 manufacturing and distribution of controlled substances and weapons. To successfully conduct these

15 investigations, I have utilized a variety of investigative techniques and resources including physical and

16 electronic surveillance, various types of infiltration (including informants and cooperating sources), pen

17 register and trap and trace devices, telephone tracking devices, mail covers, pole cameras, stationary video

18 recording vehicles, wire intercepts, audio and audio/video recording devices.

19          5.       Through my training, experience, and interaction with other experienced Special Agents,
20 Task Force Agents, and other drug investigators, I have become familiar with the methods employed by

21 drug traffickers to smuggle, safeguard, store, transport, and distribute drugs, to collect and conceal drug

22 related proceeds, and to communicate with other participants to accomplish such objectives. I know that

23 narcotics trafficking organizations have developed a number of methods to insulate their illegal activities

24 from law enforcement detection. For instance, I know that members of narcotics trafficking organizations

25 routinely utilize electronic communications facilities, including cellular telephones and mobile messaging

26 applications such as Snapchat or Instagram to communicate operational directives and information

27 concerning the conduct of the organization’s illegal activities to other organization members; that

28 organization members routinely use coded references in an effort to avoid law enforcement detection; and

       AFFIDAVIT
                                                          2
                 Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 5 of 31


 1 that the communication of time-sensitive information is critical to the successful conduct of these

 2 organizations’ illegal activities.

 3          6.       I am aware, from training and experience, that individuals engaged in drug trafficking
 4 commonly use coded language to refer to drugs and drug transactions. Drug traffickers specifically use

 5 coded language in an effort to evade law enforcement by seemingly concealing the true nature of their

 6 discussions and actions.

 7          7.       The facts in this affidavit come from my personal observations, my training and
 8 experience, and information obtained from other agents and witnesses. This affidavit is intended to

 9 demonstrate that there is probable cause for the requested complaint and warrants. It does not set forth all

10 of my knowledge about this investigation.

11                                        III.     PROBABLE CAUSE
12                 September 13, 2022 Controlled Buy of Two Ounces of Cocaine from BENNER
13          8.       On September 13, 2022, an FBI Confidential Human Source (“CHS”) 1 purchased
14 approximately two ounces of cocaine HCL from BENNER for $2,000. Prior to this controlled drug deal,

15 the CHS coordinated with BENNER via Snapchat messages regarding the specifics of the transaction to

16 include the time and meeting location, as well as the quantity and price of the narcotics. This controlled

17 drug deal (and all other drug deals detailed below) followed the same procedures: they were surveilled by

18 undercover law enforcement, the controlled buy was surreptitiously recorded, and the CHS’s vehicle and

19 person were searched by law enforcement for contraband both before and after the deal.
20          9.       On September 13, the CHS met BENNER at the Walmart located at 235 E. Dorset Drive in
21 Dixon, California. Before to the drug deal, the CHS messaged BENNER at the Snapchat account with

22 username sparkone83 (BENNER’s Snapchat Account) to coordinate the quantity of cocaine, the price, and

23 meeting location. Before their meeting, BENNER messaged the CHS from BENNER’s Snapchat

24 Account stating that he was on his way and had to pick up the cocaine while en-route. BENNER arrived

25

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            The CHS is cooperating with the FBI for potential consideration on possible federal or state
27 charges.  The CHS has no criminal convictions. The CHS has been arrested, but not convicted, for the
   following offenses: possession of a concealed firearm in a vehicle. The CHS has been an informant for
28 the FBI since August 2022 and has been proven to be a reliable CHS thus far. The CHS’ reporting has
   been proven to be truthful and has been independently verified by FBI agents.

      AFFIDAVIT
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                Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 6 of 31


 1 at the meeting location with the CHS in a black and silver Infiniti, bearing the California License Plate

 2 9BXE250 (BENNER’s Infiniti) and parked directly next to the CHS. I reviewed the covert recording,

 3 which revealed that the two talked about cars and guns for several minutes. Surveilling agents did not

 4 observe the exchange of cocaine for money between BENNER and the CHS because the two were

 5 standing between their two cars and out of view of the surveillance team. After completing the drug deal,

 6 BENNER left the parking lot and drove eastbound on Interstate 80 towards Sacramento. FBI surveillance

 7 units followed BENNER, but lost sight of him in heavy traffic for about 20 minutes. As the surveillance

 8 team arrived in the area of BENNER’s listed DMV address, 5108 Thurman way in Sacramento

 9 (BENNER’s Former Residence), 2 FBI surveillance units observed BENNER park directly in front of his

10 residence and then entering the residence.

11          10.      The CHS left the meeting location in Dixon under continuous surveillance. The CHS met
12 with agents and task force officers after the controlled purchase operation at a predetermined location and

13 turned over the package that BENNER had given the CHS. The suspected cocaine weighed

14 approximately 88 grams in the original packaging. The United States Department of Justice Western

15 Laboratory analyzed the suspected cocaine sold by BENNER on September 27, 2022. The Western

16 Laboratory confirmed the substance was Cocaine Hydrochloride with a purity of approximately 88% and

17 with a net weight of approximately 55.9 grams.

18          11.      After the September 13, 2022 drug deal, BENNER discussed future deals and pricing with
19 the CHS using BENNER’s Snapchat Account. BENNER stated that if CHS purchased more than four
20 ounces of cocaine at a time, the price would drop to $950 per ounce. BENNER also offered, for sale, a

21 “quarter kick” of cocaine, which he said was nine ounces.

22                   September 27, 2022 Controlled Buy of 1,000 MDMA Pills from BENNER
23          12.      On September 27, 2022, the CHS purchased approximately one thousand MDMA
24 (methylenedioxymethamphetamine) pills from BENNER for $1,500. Prior to the drug deal, the CHS and

25 BENNER coordinated the specifics of the transaction to include the time and meeting location, as well as

26 the quantity and price of the narcotics via Snapchat messages.

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                BENNER has recently relocated to San Diego, CA.

      AFFIDAVIT
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              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 7 of 31


 1          13.    On this same day, the CHS met BENNER in the parking lot of Scandia Family Center,
 2 located at 4300 Central Pl, Fairfield, CA 94534, California. Before the meeting, BENNER used his

 3 Snapchat Account to coordinate the quantity of drugs, the price, and the meeting location. While

 4 coordinating the details of the transaction via Snapchat, the Snapchat call between BENNER and the CHS

 5 kept failing due to lack of cellular reception. BENNER then provided the CHS the phone number 707-

 6 812-5764 (“BENNER’s Phone”) via a Snapchat message and asked the CHS to call him (BENNER) over

 7 that phone number. The CHS called BENNER’s Phone. According to the CHS, during the conversation,

 8 BENNER confirmed the transaction and agreed to the time and location of the meeting.

 9          14.    FBI surveillance units observed BENNER arriving at the meeting location in BENNER’s
10 Infiniti and parking next to the CHS. A surreptitious video recording captured BENNER retrieving the

11 drugs from a blue bag and placing the drugs on the floorboard of the CHS’ vehicle. After completing the

12 drug deal, BENNER left the parking lot and drove eastbound on Interstate 80 towards Sacramento.

13          15.    The CHS left the meeting location in Fairfield under continuous surveillance. The CHS
14 met with agents and task force officers after the controlled purchase operation at a predetermined location

15 and turned over the package that BENNER had given the CHS. The suspected drugs weighed

16 approximately 360 grams in the original packaging. The United States Department of Justice Western

17 Laboratory analyzed the pills sold by BENNER on September 27, 2022. The results revealed a total of

18 980 pills weighing approximately 327 grams. The pills tested positive for the presence of

19 methamphetamine.
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            FIGURE 1: PICTURE OF SUSPECTED MDMA PILLS BENNER SOLD THE CHS ON SEPTEMBER 27, 2022.
25          October 18, 2022 Controlled Buy of 2,000 MDMA Pills from BENNER (Supplied by J.S.)
26          16.    On October 18, 2022, the CHS purchased approximately two thousand MDMA
27 (methylenedioxymethamphetamine) pills from BENNER for $3,000. Before the drug deal, BENNER

28 communicated with the CHS using BENNER’s Snapchat Account to coordinate the quantity of drugs, the

      AFFIDAVIT
                                                        5
              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 8 of 31


 1 price, and the meeting location. BENNER asked the CHS to meet him (BENNER) at BENNER’s Former

 2 Residence. BENNER told the CHS that his supplier would bring the drugs to BENNER’s Former

 3 Residence, and that the price for two thousand MDMA pills was $3,000. On this same day, the CHS met

 4 BENNER at this residence to purchase the drugs.

 5          17.      FBI surveillance units observed BENNER’s supplier arrive at BENNER’s Former
 6 Residence as the passenger of a silver Dodge truck. A review of the DMV records for the silver Dodge

 7 truck revealed that the vehicle was registered to a J.S. residing in Fairfield. Based on the DMV records,

 8 the CHS reporting, and later confirmed by the surreptitious recording of the meeting, agents positively

 9 identified J.S. as one of BENNER’s suppliers.

10          18.      The CHS left BENNER’s Former Residence under constant surveillance. The CHS met
11 with agents and task force officers after the controlled purchase operation at a predetermined location and

12 turned over the package that J.S. had given the CHS. The suspected drugs weighed approximately 687.3

13 grams in the original packaging. The United States Department of Justice Western Laboratory analyzed

14 the pills sold by J.S. and BENNER on October 18, 2022. The results showed a total of 2,051 pills

15 weighing approximately 661.1 grams. The pills also tested positive for the presence of methamphetamine.

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         FIGURE 2: PICTURE OF SUSPECTED MDMA PILLS BENNER SOLD TO THE CHS ON OCTOBER 18, 2022.
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22                October 27, 2022 Controlled Buy of an AR-15 from J.S. (Negotiated through BENNER)

23          19.      On October 27, 2022, the CHS purchased an AR-15 from J.S. This transaction was

24 surveilled by law enforcement. The deal was facilitated by BENNER, who communicated with the CHS

25 using BENNER’s Snapchat Account, to negotiate the price for the firearm and set up the time and meeting

26 location with the CHS and J.S. The CHS met with agents and task force officers after the controlled

27 purchase operation and turned over the firearm that J.S. had sold the CHS. The firearm was determined to

28 be a 5.56/.223 caliber AR-15 style rifle. This firearm did not have a serial number.

      AFFIDAVIT
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              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 9 of 31


 1          20.    The CHS stated that the person who sold him/her the rifle was J.S. J.S. arrived alone,
 2 driving J.S.’s Dodge Ram. The CHS stated when J.S. arrived, the CHS and BENNER went to the

 3 backseat of J.S.’s Dodge Ram. BENNER retrieved the rifle from the floorboard and placed it on the

 4 backseat. The CHS placed $1,500 on the driver seat of J.S.’s Dodge Ram, and then wrapped the rifle up

 5 before taking it back to his/her vehicle. The CHS and BENNER sat in the CHS’s vehicle and inspected

 6 the gun before returning to J.S.’s Dodge Ram.

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                      FIGURE 3: FIREARM PURCHASED FROM BENNER AND J.S. ON OCTOBER 27, 2022
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13            Controlled Buy of 2000 MDMA Pills from BENNER (Supplied by J.S.) on December 7, 2022
14          21.    On December 7, 2022, the CHS purchased 2,000 MDMA pills from BENNER. The drugs
15 were supplied by J.S.

16          22.    On December 6, 2022, BENNER communicated with the CHS using BENNER’s Snapchat
17 Account to coordinate the purchase of the pills and to set a location for the meeting. On December 7,

18 2022, the CHS contacted BENNER again over BENNER’s Snapchat Account to finalize the purchase of

19 the MDMA and to set a time for the buy. BENNER told the CHS to meet at BENNER’s Former
20 Residence at 3:00 p.m. The negotiated price was $3,000.

21          23.    At about 3:00 p.m., the CHS arrived at BENNER’s Former Residence and met with
22 BENNER in person. At approximately 3:37 p.m., BENNER could be heard talking with someone on a

23 cellular phone. BENNER relayed to the CHS that J.S. was picking up the MDMA from his “nephew.” I

24 confirmed that phone call was between BENNER’s Phone and J.S. ’s Phone.

25          24.    J.S. arrived at BENNER’s Former Residence at approximately 4:30 p.m. Upon his arrival I
26 could hear the CHS, BENNER, and J.S. greet each other inside of BENNER’s Former Residence. I could

27 hear the sound of a plastic bag rustling, and the CHS left moments later.

28          25.    Once the CHS left the meeting, he/she was kept under continuous surveillance. The CHS

      AFFIDAVIT
                                                        7
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 10 of 31


 1 met with agents and task force officers after the controlled purchase operation and turned over the pills

 2 that J.S. had sold the CHS. The CHS stated J.S. handed the bag containing the pills directly to the CHS,

 3 and that BENNER looked at the contents of the bag during the transfer. The CHS handed the $3,000

 4 directly to J.S.

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 9          FIGURE 4: PICTURE OF SUSPECTED MDMA PILLS J.S. SOLD TO THE CHS ON DECEMBER 7, 2022

10          26.       The United States Department of Justice Western Laboratory analyzed the pills sold by J.S.
11 and BENNER on December 7, 2022. The results showed a total of 2,047 pills weighing approximately

12 711.2 grams. The pills also tested positive for the presence of methamphetamine.

13          27.       On January 17, 2023, the CHS reported that he/she had talked with BENNER on Instagram
14 on or about January 15, 2023. BENNER reached out to the CHS from Instagram Account with the vanity

15 name: “_its_jerm_” (BENNER’s Instagram Account) and informed the CHS that he (BENNER) had been

16 attempting to contact J.S. for about a week with no success. BENNER was able to contact J.S.’s cousin

17 (whom BENNER did not identify to the CHS), and the cousin informed BENNER that J.S. had died. The

18 “cousin” did not specify how or where J.S. died. BENNER informed the CHS that he (BENNER) could

19 still obtain drugs and guns, although BENNER did not identify his new source.
20            February 13, 2023 Buy of 2,000 MDMA Pills from BENNER (Supplied by WARREN)
21          28.       On February 13, 2023, the CHS purchased approximately two thousand MDMA
22 (methylenedioxymethamphetamine) pills from BENNER for $3000.00. Prior to the buy, the CHS and

23 BENNER coordinated the specifics of the transaction over Snapchat messages, including the time and

24 meeting location, as well as the quantity and price of the narcotics.

25          29.       On February 13, the CHS met BENNER in the parking lot of a 7-Eleven located at 1610
26 Fairgrounds Drive, in Vallejo. Prior to the meeting, BENNER communicated with the CHS using

27 BENNER’s Snapchat Account to coordinate the quantity of drugs, the price, and the meeting location.

28 BENNER asked the CHS to meet him (BENNER) at the 7-Eleven. The CHS arrived at the meeting

      AFFIDAVIT
                                                          8
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 11 of 31


 1 location and parked at one of the 7-Eleven gas pumps. FBI surveillance units observed BENNER arriving

 2 at the 7-Eleven in a silver Lexus bearing the California License Plate 9ACJ925 (BENNER’s Lexus) and

 3 parking at a gas pump facing the CHS’ vehicle. Several minutes later, surveillance units observed a gray

 4 Honda, bearing the California License Plate 8RXZ319 (“WARREN’s Honda”) parking next to

 5 BENNER’s Lexus on the opposite side of the gas pump.

 6          30.    The surreptitious recording captures WARREN’s Honda arriving at the 7-Eleven and
 7 BENNER entering the front passenger door of WARREN’s Honda. The recording also shows

 8 BENNER retrieving what appears to be a white plastic grocery bag from inside WARREN’s Honda and

 9 giving it to the CHS. The recording later captures BENNER counting what appears to be U.S. currency.

10 The CHS departed the 7-Eleven while BENNER remained inside WARREN’s Honda.

11          31.    The CHS left the meeting location in Vallejo under continuous surveillance. The CHS met
12 with agents and task force officers after the controlled purchase operation at a predetermined location and

13 turned over the package that BENNER had given the CHS. The suspected drugs weighed approximately

14 766.5 grams in their original packaging. The CHS described the supplier as a black male in his early 40s,

15 standing between 5’9’’ and 6’0’’ tall, average build (later identified as ANTONIO WARREN).

16 According to the CHS, the supplier had short hair, light facial hair, and was wearing a blue and white

17 uniform from one of the local refineries. The supplier did not identify himself to the CHS and did not exit

18 his vehicle. According to the CHS, the supplier gave BENNER the white grocery bag containing the

19 suspected drugs, and BENNER handed the bag to the CHS. The CHS then gave BENNER $3,000 for the
20 drugs and BENNER counted the money before giving the money to the supplier.

21          32.    Shortly after the CHS departed the meeting location, surveillance units observed BENNER
22 returning to his vehicle and both BENNER’s Lexus and WARREN’s Honda were observed departing the

23 7-Eleven. Surveillance units attempted to monitor the movements of WARREN’s Honda but lost the

24 vehicle in traffic. Later the same day, surveillance units found WARREN’s Honda parked in front of

25 1926 Griffin Dr., Vallejo, CA (WARREN’s Residence).

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      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 12 of 31


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 5      FIGURE 5: PICTURE OF SUSPECTED MDMA PILLS WARREN SOLD TO THE CHS ON FEBRUARY 13, 2023

 6          33.    On February 14, 2023, TFO Pittman conducted a CLETS registration check on
 7 WARREN’s HONDA and found it was registered to N.P. at an address in Vallejo. TFO Pittman

 8 conducted a Vallejo Police Department location history check at that address and found ANTONIO

 9 MARKETH WARREN, DOB XX/XX/1972 provided this address in an online vandalism report in 2018.

10 WARREN identified the address as his sister’s house and stated his vehicle had been vandalized

11 overnight while parked there.

12          34.    TFO Pittman conducted an open-source database search of WARREN and found the top
13 phone number associated to him was 510-260-9153 (“WARREN’s Phone”). I compared that number to

14 the Pen Register Trap and Trace data from BENNER’s Phone and found BENNER called WARREN’s

15 Phone on February 13, 2023, around at 12:36 p.m. This date and time is about seven hours before the

16 drug deal with the CHS, BENNER, and WARREN at the 7-Eleven in Vallejo. In particular, the drug

17 deal occurred at about 7:43 p.m., and this toll connection between BENNER and WARREN is before the

18 deal. In my experience, this call pattern is consistent with BENNER connecting with WARREN to make

19 sure the drug deal would occur as planned. Additionally, this is consistent with the CHS’s prior reporting
20 that WARREN gets off of work around 7:30 p.m.

21          35.    On February 14, 2023, TFO Pittman obtained a DMV photograph of WARREN and sent it
22 to the CHS. The CHS positively identified WARREN as the supplier of the MDMA pills from February

23 13, 2023. Agents subsequently reviewed the surreptitious recording during the controlled buy conducted

24 on February 13, 2023, and confirmed that the individual driving WARREN’s Honda was WARREN.

25          36.    The United States Department of Justice Western Laboratory analyzed the pills sold by
26 WARREN and BENNER on February 13, 2023. The results showed a total of 1,929 pills weighing

27 approximately 722.1 grams. The pills tested positive for the presence of methamphetamine. In addition to

28 the pills, WARREN gave the CHS a plastic bag containing white powdery substance. The Western

      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 13 of 31


 1 Laboratory testing revealed the substance was Cocaine Hydrochloride with a net weight of approximately

 2 3.4 grams and a purity level of approximately 92%. Based on my training and experience, I know that

 3 drug dealers often supply their customers with samples of other drugs they are selling to potentially

 4 develop new customers and expand their networks.

 5          37.    On March 8, 2023, FBI surveillance units observed WARREN arrive at WARREN’s
 6 RESIDENCE driving WARREN’s Honda. Surveillance units observed WARREN exiting

 7 WARREN’s Honda and accessing WARREN’s RESIDENCE through a side gate.

 8

 9     March 8, 2023 Controlled Buy of Ten Ounces of Cocaine from BENNER (Supplied by A.C.) and a
10                                                Ruger Firearm
11          38.    On March 6, 2023, BENNER told the CHS over Instagram messages that BENNER’s
12 Snapchat Account was discontinued by Snapchat. On March 8, 2023, the CHS purchased approximately

13 ten ounces of cocaine from BENNER for $7,000. BENNER used BENNER’s Instagram Account to

14 communicate with the CHS and coordinate the specifics of the transaction.

15          39.    On this same day, the CHS met BENNER at the Vallejo Municipal Marina located at 42
16 Harbor Way in Vallejo. BENNER communicated the price, the meeting time, and the meeting location to

17 the CHS over Instagram messages.

18          40.    At approximately 5:36 p.m., the CHS arrived at the meeting location and parked next to a
19 blue Chevrolet Avalanche bearing the California License Plate 62509N3 (BENNER’s Avalanche).
20 BENNER was seated in the driver seat of BENNER’s Avalanche. I could hear the two engaged in

21 conversation over the covert monitoring device.

22          41.    At about 5:49 p.m., the CHS asked BENNER when the cocaine was going to be delivered.
23 BENNER then made a phone call and could be heard talking with someone. I was monitoring the pen

24 register data on BENNER’s Phone and noted a call to 707-652-8504 (“A.C.’s Phone”) while BENNER

25 could be heard talking on the phone.

26          42.    At about 5:51 p.m., FBI surveillance units observed a white Jeep Wrangler (“A.C.’s Jeep”)
27 arrive and park next to BENNER and the CHS. The driver of the vehicle contacted BENNER and a

28 conversation between the three could be heard. At about 5:53 p.m., A.C.’s Jeep left the parking lot. FBI

      AFFIDAVIT
                                                       11
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 14 of 31


 1 surveillance units monitored the movement of A.C.’s Jeep believing that the cocaine deal had been

 2 completed.

 3          43.    Surveillance units observed that the driver of A.C.’s Jeep was a light-complected Hispanic
 4 male in his 20’s with medium length hair and a mustache (later identified as A.C.). At about 6:00 p.m.,

 5 A.C.’s Jeep was followed to Warren Avenue in Vallejo. Surveillance units did not follow A.C.’s Jeep

 6 down the street because it is a lightly traveled street and the surveillance units could have been

 7 compromised. At about 6:04 p.m., surveillance units observed A.C.’s Jeep parked in the driveway of a

 8 residence in Vallejo (“A.C.’s Residence”).

 9          44.    TFO Pittman conducted a DMV registration check of A.C.’s Jeep and found it was
10 registered to A.C. and S.D. at A.C.’s Residence. TFO Pittman obtained a DMV photograph of A.C. and

11 identified him as the driver of A.C.’s Jeep.

12          45.    At this time, agents discontinued surveillance because they believed the deal had been
13 completed. The CHS contacted the agents and informed them the deal had not yet been completed, and

14 they were waiting for a delivery of the cocaine. The CHS remained with BENNER, in the parking lot of

15 42 Harbor Way, while awaiting the delivery.

16          46.    At approximately 6:33 p.m., surveillance units observed A.C.’s Jeep returning to the
17 parking lot where the CHS and BENNER were parked. The CHS got into the passenger’s seat of A.C.’s

18 Jeep. The CHS, BENNER, and A.C. could be heard counting money.

19          47.    The CHS then left the meeting location under continuous surveillance. The CHS provided
20 officers and agents with the package containing the suspected cocaine. The package consisted of a small

21 brown carboard box which held two heat-sealed, clear plastic bags containing a white rocklike substance,

22 suspected to be cocaine. The United States Department of Justice Western Laboratory analyzed the

23 suspected cocaine sold by BENNER and A.C. on March 8, 2023. The Western Laboratory confirmed the

24 substance was Cocaine Hydrochloride with a purity of approximately 89% and with a net weight of

25 approximately 276.9 grams.

26          48.    The CHS stated that initially A.C. arrived and provided BENNER with approximately one
27 ounce of cocaine. The CHS showed A.C. the cash, and A.C. then left. The CHS was unsure about what

28 was happening, and asked BENNER if the supplier was returning. BENNER informed the CHS the

      AFFIDAVIT
                                                        12
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 15 of 31


 1 supplier was going to get the cocaine and that the supplier had an uncle who was involved.

 2          49.     When A.C. returned, he parked next to BENNER’s Avalanche. The CHS counted the
 3 money and handed it to BENNER. BENNER verified the count, and A.C. handed the box to the CHS.

 4 The CHS left, while BENNER and A.C. remained at the meeting location.

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11                      FIGURE 6: COCAINE PURCHASED FROM BENNER AND A.C. ON MARCH 8, 2023

12          50.     Surveillance units conducted surveillance of A.C. as he left the meeting location and was
13 followed into a business parking lot in Benicia.

14      April 20, 2023 Controlled buy of 2,000 MDMA pills and a firearm from BENNER and WARREN
15          51.     On April 20, 2023, the CHS purchased a firearm from BENNER for $800. In addition, the
16 CHS purchased approximately 2,000 MDMA pills from WARREN for $3,000. Prior to the drug deal,

17 BENNER messaged the CHS from BENNER’s Instagram Account to coordinate the specifics of the

18 transaction, including the time and meeting location, as well as the quantity and price for the firearm and

19 the narcotics.
20          52.     On April 20, at about 7:05 p.m., the CHS met with BENNER at the 7-Eleven located at
21 1601 Fairgrounds Drive in Vallejo. BENNER provided the CHS a Ruger LCP .380 caliber handgun

22 (serial number 378-11154), two boxes of Armscor .380 ACP ammunition, three standard magazines for a

23 Ruger LCP, and one extended magazine for a Ruger LCP. The CHS handed BENNER $800 for the

24 firearm and accessories.

25          53.     At about 7:13 p.m., I noted a phone call from BENNER’s Phone to WARREN’s Phone. At
26 about 7:19 p.m., FBI surveillance units observed WARREN exiting WARREN’s RESIDENCE.

27 WARREN entered the driver’s seat of a silver Toyota Corolla bearing the California License Plate

28 8WOD012 (WARREN’s TOYOTA), which was parked in front of the residence, and drove directly to

      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 16 of 31


 1 1601 Fairgrounds Drive.

 2          54.     WARREN met with BENNER and the CHS in the parking lot. The CHS handed
 3 BENNER $3,000 and WARREN handed the CHS two clear plastic bags containing the MDMA pills.

 4 The CHS left the meeting location with the firearm from BENNER and the pills from WARREN.

 5 BENNER remained behind inside of WARREN’s TOYOTA.

 6          55.     The CHS then left the meeting location under continuous surveillance. The CHS provided
 7 officers and agents with the package containing the suspected MDMA, the firearm and the accessories.

 8 The package consisted of two clear plastic bags containing multi-colored tablets, suspected to be MDMA.

 9          56.     The United States Department of Justice Western Laboratory analyzed the pills sold by
10 WARREN and BENNER on April 20, 2023. The results showed a total of 1997 tablets weighing

11 approximately 728.9 grams. The pills tested positive for the presence of methamphetamine with a

12 substance purity of approximately 7%.

13          57.     The CHS identified WARREN as the supplier of the MDMA pills based on the prior
14 MDMA purchase on February 13, 2023.

15          58.     TFO Pittman conducted DMV records check on WARREN’s TOYOTA and found it was
16 registered to WARREN at 7544 Whisperwillow Drive, Sacramento.

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           FIGURE 7: MDMA PILLS AND FIREARM SUPPLIED BY BENNER AND WARREN ON APRIL 20, 2023.
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24                       April 28, 2023 Controlled buy of an AR-15 Rifle from BENNER
25          59.     On April 28, 2023, the CHS purchased an AR-15 from BENNER for $1,600. Prior to the
26 buy, BENNER messaged the CHS from BENNER’s Instagram Account to coordinate the specifics of the

27 transaction to include price of the firearm, the time, and meeting location.

28          60.     On this same day, BENNER directed the CHS over Instagram messages to meet with him

      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 17 of 31


 1 (BENNER) at the O’Reilly Auto Parts located at 3100 Fruitridge Avenue in Sacramento. When the CHS

 2 arrived at the O’Reilly Auto Parts store, BENNER was sitting in the driver seat of BENNER’s Avalanche.

 3 BENNER directed the CHS to follow him (BENNER) to another location. BENNER led the CHS to an

 4 address on 32nd Avenue in Sacramento. BENNER parked in the driveway of the residence, and the CHS

 5 parked on the street. BENNER led the CHS inside, where they contacted an unidentified Hispanic or

 6 Filipino male who appeared to be in his 30’s. This unidentified supplier handed the CHS a white and

 7 black AR-15 rifle with a detachable 30 round magazine. The supplier also provided the CHS with

 8 approximately five rounds of .223/5.56 caliber ammunition.

 9          61.    The CHS then left the meeting location under continuous surveillance. The CHS provided
10 officers and agents with the rifle and ammunition. The rifle appeared to be functional, but it did not have

11 a serial number. The CHS stated he/she gave the money directly to the unidentified supplier, who then

12 handed the rifle to the CHS. BENNER remained behind at the residence when the CHS left.

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17                            FIGURE 8: FIREARM PURCHASED THROUGH BENNER ON APRIL 28, 2023.

18          62.    On May 28, 2023, BENNER contacted the CHS from BENNER’s Instagram Account and

19 offered to sell the CHS a Glock 19 pistol for $1500. BENNER provided the CHS pictures of the firearm
20 over Instagram messages.

21          63.    On June 4, 2023, BENNER contacted the CHS from BENNER’s Instagram Account,

22 offering to sell the CHS a fully automatic AR-15 pistol for $2,000. BENNER sent the CHS the picture of

23 this firearm below. On June 14, 2023, BENNER agreed to sell the CHS the firearm, however the

24 transaction was later canceled by BENNER who stated the supplier was not available at the time.

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      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 18 of 31


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                   FIGURE 9: MACHINE GUN BENNER OFFERED TO SELL THE CHS ON JUNE 14, 2023.
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 7                   July 13, 2023 Controlled Buy of a Ruger LCR Revolver from BENNER
 8          64.     On July 13, 2023, the CHS purchased a Ruger LCR revolver from BENNER for $650.
 9 Prior to the buy, BENNER messaged the CHS from BENNER’s Instagram Account to coordinate the

10 specifics of the transaction including the price of the firearm, the time, and meeting location. BENNER

11 agreed to sell the CHS a Ruger LCR revolver for $650 and an AR-15 style rifle for $2000.

12          65.     On this same day, BENNER directed the CHS via Instagram messages to meet with him
13 (BENNER) at the O’Reilly Auto Parts located at 3100 Fruitridge Avenue in Sacramento. BENNER

14 arrived in the parking lot of the O’Reilly Auto Parts as a passenger in a silver Honda van. BENNER was

15 accompanied by an unidentified Hispanic male who introduced himself to the CHS as “Chico.” BENNER

16 told the CHS that he (BENNER) would walk over to his residence to retrieve the revolver. Chico offered

17 to give BENNER a ride, but BENNER declined stating that he could see his garage from their location.

18 BENNER told the CHS that he moved in with Chico. BENNER walked through the parking lot of the

19 O’Reilly Auto Parts towards 32nd Avenue and used a hole in the fence to access the back yard of a
20 residence on the 32nd Avenue. The CHS reported that it appeared to be the same residence where

21 BENNER asked the CHS to meet the supplier of an AR-15 during a previous controlled buy on April 28,

22 2023 (the residence on 32nd Avenue in Sacramento). The video recording shows BENNER returning to

23 the buy location with a black satchel, taking something out of the satchel, and placing the item on the

24 backseat of the CHS’ vehicle. The CHS reported that BENNER placed the revolver and a box of

25 ammunition on the backseat of the CHS’ vehicle.

26          66.     The CHS paid BENNER $650 for the Ruger LCP revolver. BENNER told the CHS that
27 the supplier of the AR-15 rifle was not available at that the time but might be available later in the evening

28 or the following Tuesday. After the transaction was complete, BENNER and Chico departed the parking

       AFFIDAVIT
                                                        16
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 19 of 31


 1 lot of the O’Reilly Auto Parts store in the silver Honda. Surveillance units observed the Honda turn East

 2 on Fruitridge Road and then South on the 32nd Avenue. Surveillance units did not follow the Honda

 3 down the street because it is a lightly traveled street and the surveillance units could have been

 4 compromised. Several minutes later, surveillance units observed the Honda parked on the driveway of a

 5 residence in Sacramento.

 6          67.    The CHS left the meeting location under continuous surveillance. The CHS provided
 7 officers and agents with the firearm and the ammunition purchased from BENNER. Agents took custody

 8 of the firearm, a Ruger LCR 38 Special with serial number 545-81270. Records for the firearm revealed

 9 the gun was reported stolen to the Sacramento Police Department on July 19, 2019.

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                        FIGURE 10: FIREARM SOLD BY BENNER TO THE CHS ON JULY 13, 2023
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16            August 9, 2023 Controlled Buy of 2,000 MDMA Pills from BENNER and WARREN

17          68.    On August 9, 2023, the CHS purchased approximately 2,000 MDMA pills from BENNER

18 and WARREN for $3,000. Prior to the buy, BENNER messaged the CHS from BENNER’s Instagram

19 Account to coordinate the specifics of the transaction, to include the time and meeting location, as well as
20 the quantity and price for the narcotics.

21          69.    On August 9, 2023 at about 8:29 p.m., the CHS met with BENNER at the 7-Eleven located

22 at 1601 Fairgrounds Drive, Vallejo. When the CHS arrived at the 7-Eleven, BENNER was already there

23 in a white Lexus bearing the California License Plate 4UNW083 (“BENNER’s LEXUS”). BENNER

24 entered the CHS’ vehicle and the CHS handed BENNER the $3000. The CHS reported that BENNER

25 counted the money, put a rubber band around it, and placed it on the center console. According to the

26 CHS, BENNER texted or messaged someone on his phone and, two to three minutes later, a silver Toyota

27 Corolla arrived and parked in front of the CHS’ vehicle. Surveillance units confirmed that the Corolla

28 was WARREN’s TOYOTA. BENNER took the money from the CHS, walked to WARREN’s

      AFFIDAVIT
                                                        17
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 20 of 31


 1 TOYOTA and got into the passenger seat. The CHS reported that s/he was able to see BENNER and the

 2 driver of WARREN’s TOYOTA talking when the CHS decided to approach WARREN’s TOYOTA.

 3 BENNER then exited WARREN’s TOYOTA and walked up to the CHS’s vehicle. BENNER placed a

 4 Walmart plastic bag containing the drugs on the CHS’s driver seat.

 5          70.    Before the meeting between the CHS and BENNER, FBI surveillance units had established
 6 surveillance in the vicinity of WARREN’s RESIDENCE. Surveillance units observed WARREN’s

 7 TOYOTA parked on the street in front of WARREN’s RESIDENCE. At approximately 8:32 p.m.,

 8 surveillance units observed a black male resembling WARREN walk from the gate of WARREN’s

 9 RESIDENCE and enter WARREN’s TOYOTA. The vehicle then departed northbound on Griffin Drive

10 towards the 7-Eleven. At approximately 8:38 p.m., surveillance units observed the CHS and BENNER

11 standing between the CHS’s vehicle, BENNER’s LEXUS and WARREN’s TOYOTA. After the

12 transaction was complete WARREN’s TOYOTA departed the 7-Eleven. Surveillance units observed

13 BENNER entering BENNER’s LEXUS and departing the 7-Eleven.

14          71.    The CHS left the meeting location with the narcotics supplied by BENNER and
15 WARREN under continuous surveillance. The CHS provided officers and agents with the package

16 containing the suspected MDMA pills. The package consisted of two clear plastic bags containing multi-

17 colored tablets of suspected MDMA pills. While the suspected MDMA has not yet been tested, agents

18 have subsequently visually inspected the drugs. Based on their training and experience, agents have found

19 the suspected MDMA to be consistent with the shape, size, and color of actual MDMA. The approximate
20 weight for the MDMA pills was 937.7 grams.

21          72.    The CHS identified WARREN as the supplier of the MDMA pills based on the prior
22 MDMA purchases on February 13, 2023, and April 20, 2023.

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28          FIGURE 11: MDMA PILLS SUPPLIED BY BENNER AND WARREN ON AUGUST 9, 2023


      AFFIDAVIT
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               Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 21 of 31


 1          73.     During the meeting and communications leading up to the drug deal, BENNER told the
 2 CHS that he (BENNER) was moving to San Diego on or about August 11, 2023. During the meeting,

 3 BENNER and the CHS discussed a future cocaine deal. BENNER told the CHS that he (BENNER)

 4 would be willing to drive up from San Diego to facilitate the transaction if the deal was large enough.

 5 BENNER told the CHS that the price for one kilogram of cocaine would be $18,000 and the narcotics

 6 would be supplied to the CHS in Vallejo.

 7                              BENNER is a Prohibited Person under § 922(g)(1)
 8          A review of BENNER’s criminal history reveals that he has been convicted of the following
 9 felonies:

10                  1) 2005 felony conviction for grand theft, in violation of California Penal Code § 487(a);
11                  2) 2005 felony conviction for possession of marijuana for sale, in violation of California
12                     Health and Safety Code § 11359;
13                  3) 2008 felony conviction for possession of a narcotic controlled substance, in violation of
14                     California Health and Safety Code § 11350; and
15                  4) 2008 felony conviction for possession of controlled substance, in violation of California
16                     Health and Safety Code § 11357(a).
17                                                Interstate Nexus
18          Based on my training and experience, and my consultation with an ATF nexus expert, I know that
19 Ruger firearms, such as the ones BENNER sold the CHS on April 20, 2023, and July 13, 2023, are not
20 manufactured in the State of California. Therefore, prior to BENNER’s possession of these Ruger

21 firearms, they must have travelled in interstate commerce.

22

23       Training and Experience Regarding Drug/Firearm Trafficking and Drug/Firearms Traffickers
24          74.     As a result of my training and experience, I know that the traffickers who deal in controlled
25 substances and firearms, or those that assist in that venture, maintain and tend to retain accounts or records

26 of those transactions. Such records detail amounts outstanding, owed, or expended, along with records

27 tending to indicate the identity of the co-conspirators. These records may be kept on paper or contained in

28 memory calculators or computers. It is also my experience that these traffickers tend to keep these

       AFFIDAVIT
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              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 22 of 31


 1 accounts and records in their residences and in the areas under their control. It is my training and

 2 experience that in the case of drug dealers, evidence is likely to be found where the dealers live. It is also

 3 my training and experience that where criminal activity is long term or on-going, equipment or records of

 4 the crime will be kept for some period of time.

 5          75.     I have learned that large-scale drug and firearms traffickers often have on hand large
 6 amounts of United States currency in order to maintain and finance their ongoing business. It has been my

 7 experience that drug traffickers often keep large sums of currency, caches of drugs, financial instruments,

 8 precious metals, jewelry, automobiles, and other items of value and/or proceeds of drug transactions

 9 related to obtaining, transferring, secreting or spending large sums of money acquired from engaging in in

10 the acquisition and distribution of controlled substances in their residence or in the areas under their

11 control.

12          76.     In my experience, drug traffickers commonly have in their possession, that is on their
13 person, at their residence, and their vehicles, and in the areas under their control, firearms, included but

14 not limited to handguns, pistols, revolvers, shotguns, rifles, machine guns, and other weapons. Such

15 firearms are used by criminals to protect their illicit trafficking operations, and themselves against law

16 enforcement and others because the illicit drug and firearms trade is an inherently dangerous illegal

17 activity involving large amounts of valuable contraband and drug proceeds.

18          77.     In my experience, traffickers commonly have in their possession, that is on their person, at
19 their residence, and in their vehicles, and in the areas under their control and which they have free and
20 ready access to drugs and firearms, which they intend to distribute. It is my experience that these

21 traffickers commonly utilize these areas (vehicles, residences, properties, etc.) as locations to conceal their

22 narcotics from law enforcement.

23          78.     In my experience, traffickers may take or cause to be taken, photographs or videotapes of
24 themselves, their associates, their property, and their product. Such traffickers often maintain photographs

25 and/or videotapes at their residence or in the areas under their control.

26          79.     In my experience, drug traffickers often maintain in their possession and at their residence
27 fictitious identification, including but not limited to, driver licenses, employment cards, insurance cards,

28 social security cards, certificates of birth and passports which are obtained by the traffickers and utilized

       AFFIDAVIT
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              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 23 of 31


 1 in an effort to prevent law enforcement identification of the traffickers and their drug trafficking activities.

 2          80.     In my experience, drug traffickers often utilize vehicles in which to transport and distribute
 3 controlled substances in facilitation of their trafficking activities. It has also been my experience that

 4 traffickers will also utilize the vehicles as locations in which to store controlled substances and guns prior

 5 to distribution. During prior investigations, I have observed that traffickers will often utilize vehicles

 6 registered in the names of individuals other than themselves in an effort to avoid detection by law

 7 enforcement.

 8          81.      In addition, drug and gun traffickers often tend to attempt to legitimize their assets by
 9 establishing domestic and foreign businesses, by creating shell corporations, by utilizing foreign bank

10 haven countries and attorneys specializing in drafting and establishing such entities employed to “launder”

11 proceeds derived from the distribution of controlled substances.

12          82.     Individuals involved in the distribution of guns and drugs often make, or cause to be made,
13 pictures videos, movies, compact discs, or other such items which are or contain photographic or digital

14 images in order to memorialize their narcotics distribution, use, possession, or any other activities

15 surrounding their trafficking activities, and that such items often identify co-conspirators in their

16 trafficking activities.

17          83.     It has been my experience in the past, and particularly in this case, that when suspects use
18 mobile phones to communicate with cooperating individuals or undercover agents to set up their illegal

19 transactions, records relating to these activities will be found stored in the cellular telephone.
20          84.     I know that traffickers use mobile phones to communicate with one another, either by voice
21 or text message. Mobile phones preserve in their memory a history of incoming, outgoing, and missed

22 calls, which can lead to evidence of the phone numbers of other traffickers and the dates and times that

23 they and/or the mobile phone user dialed one another’s telephones. Mobile phones also contain in their

24 memory a telephone book. This allows the user to store telephone numbers and other contact information;

25 the information stored in a phone used by a trafficker is evidence of the association of the trafficker, some

26 of which is related to his or her illegal business. Mobile phones also have a voice mail function that

27 allows caller to leave a message when the user does not answer. Traffickers sometimes leave voice

28 messages for each other, and this is evidence both of their mutual association and possibly their joint

       AFFIDAVIT
                                                          21
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 24 of 31


 1 criminal activity. Mobile phones can also contain other user-entered data files such as to-do lists, which

 2 can provide evidence of crime when used by a trafficker. Mobile phones can also contain photographic

 3 data files, which can be evidence of criminal activity when the user was a trafficker who took pictures of

 4 evidence of crime.

 5          85.     As described in the Attachments A-1 through A-6, this affidavit seeks permission to search
 6 and seize things that are related to the drug/firearms-trafficking activities between BENNER, WARREN,

 7 A.C. and their co-conspirators and accomplices, in whatever form such things are stored. Based on my

 8 training and experience, I know that electronic devices can store information for long periods of time.

 9 Even when a user deletes information from a device, it can sometimes be recovered with forensic tools.

10 Similarly, things that have been viewed via the Internet, are typically stored for some period of time on the

11 device. This information can sometimes be recovered with forensic tools.

12          86.     It is my opinion, based on my training and experience, and the training and experience of
13 other law enforcement investigators to whom I have spoken, that the items listed in the respective

14 Attachment B are items most often associated with the distribution of controlled substances as well as the

15 proceeds from such illegal operations.

16          87.     Individuals involved in drug and gun trafficking also often maintain paraphernalia for
17 packaging, weighing, cutting, testing, distributing, and identifying controlled substances. Therefore, I am

18 requesting authority to seize all items listed in Attachment B to this affidavit and incorporated here by

19 reference.
20         Training and Experience Regarding Computers, Electronic Storage, And Forensic Analysis
21          88.     As described above and in Attachment B, this application seeks permission to search for
22 records that might be found on the PREMISES, in whatever form they are found. One form in which the

23 records might be found is data stored on a computer’s hard drive or other storage media. Thus, the

24 warrant applied for would authorize the seizure of electronic storage media or, potentially, the copying of

25 electronically stored information, all under Rule 41(e)(2)(B).

26          89.     Probable cause. I submit that if a computer or storage medium is found on the PREMISES,
27 there is probable cause to believe those records will be stored on that computer or storage medium, for at

28 least the following reasons:

       AFFIDAVIT
                                                        22
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 25 of 31


 1          90.     Based on my knowledge, training, and experience, I know that computer files or remnants
 2 of such files can be recovered months or even years after they have been downloaded onto a storage

 3 medium, deleted, or viewed via the Internet. Electronic files downloaded to a storage medium can be

 4 stored for years at little or no cost. Even when files have been deleted, they can be recovered months or

 5 years later using forensic tools. This is so because when a person “deletes” a file on a computer, the data

 6 contained in the file does not actually disappear; rather, that data remains on the storage medium until it is

 7 overwritten by new data.

 8          91.     Therefore, deleted files, or remnants of deleted files, may reside in free space or slack
 9 space—that is, in space on the storage medium that is not currently being used by an active file—for long

10 periods of time before they are overwritten. In addition, a computer’s operating system may also keep a

11 record of deleted data in a “swap” or “recovery” file.

12          92.     Wholly apart from user-generated files, computer storage media—in particular, computers’
13 internal hard drives—contain electronic evidence of how a computer has been used, what it has been used

14 for, and who has used it. To give a few examples, this forensic evidence can take the form of operating

15 system configurations, artifacts from operating system or application operation, file system data structures,

16 and virtual memory “swap” or paging files. Computer users typically do not erase or delete this evidence,

17 because special software is typically required for that task. However, it is technically possible to delete

18 this information.

19          93.     Similarly, files that have been viewed via the Internet are sometimes automatically
20 downloaded into a temporary Internet directory or “cache.”

21          94.     Forensic evidence. As further described in Attachment B, this application seeks permission
22 to locate not only computer files that might serve as direct evidence of the crimes described on the

23 warrant, but also for forensic electronic evidence that establishes how computers were used, the purpose

24 of their use, who used them, and when. There is probable cause to believe that this forensic electronic

25 evidence will be on any storage medium in the PREMISES because:

26          95.     Data on the storage medium can provide evidence of a file that was once on the storage
27 medium but has since been deleted or edited, or of a deleted portion of a file (such as a paragraph that has

28 been deleted from a word processing file). Virtual memory paging systems can leave traces of

       AFFIDAVIT
                                                         23
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 26 of 31


 1 information on the storage medium that show what tasks and processes were recently active. Web

 2 browsers, e-mail programs, and chat programs store configuration information on the storage medium that

 3 can reveal information such as online nicknames and passwords. Operating systems can record additional

 4 information, such as the attachment of peripherals, the attachment of USB flash storage devices or other

 5 external storage media, and the times the computer was in use. Computer file systems can record

 6 information about the dates files were created and the sequence in which they were created, although this

 7 information can later be falsified.

 8          96.     As explained herein, information stored within a computer and other electronic storage
 9 media may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

10 conduct under investigation, thus enabling the United States to establish and prove each element or

11 alternatively, to exclude the innocent from further suspicion. In my training and experience, information

12 stored within a computer or storage media (e.g., registry information, communications, images and

13 movies, transactional information, records of session times and durations, internet history, and anti-virus,

14 spyware, and malware detection programs) can indicate who has used or controlled the computer or

15 storage media. This “user attribution” evidence is analogous to the search for “indicia of occupancy”

16 while executing a search warrant at a residence. The existence or absence of anti-virus, spyware, and

17 malware detection programs may indicate whether the computer was remotely accessed, thus inculpating

18 or exculpating the computer owner. Further, computer and storage media activity can indicate how and

19 when the computer or storage media was accessed or used. For example, as described herein, computers
20 typically contain information that log: computer user account session times and durations, computer

21 activity associated with user accounts, electronic storage media that connected with the computer, and the

22 IP addresses through which the computer accessed networks and the internet. Such information allows

23 investigators to understand the chronological context of computer or electronic storage media access, use,

24 and events relating to the crime under investigation. Additionally, some information stored within a

25 computer or electronic storage media may provide crucial evidence relating to the physical location of

26 other evidence and the suspect. For example, images stored on a computer may both show a particular

27 location and have geolocation information incorporated into its file data. Such file data typically also

28 contains information indicating when the file or image was created. The existence of such image files,

       AFFIDAVIT
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              Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 27 of 31


 1 along with external device connection logs, may also indicate the presence of additional electronic storage

 2 media (e.g., a digital camera or cellular phone with an incorporated camera). The geographic and timeline

 3 information described herein may either inculpate or exculpate the computer user. Last, information

 4 stored within a computer may provide relevant insight into the computer user’s state of mind as it relates

 5 to the offense under investigation. For example, information within the computer may indicate the

 6 owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal planning), or

 7 consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer or password

 8 protecting/encrypting such evidence in an effort to conceal it from law enforcement).

 9          97.     A person with appropriate familiarity with how a computer works can, after examining this
10 forensic evidence in its proper context, draw conclusions about how computers were used, the purpose of

11 their use, who used them, and when.

12          98.     The process of identifying the exact files, blocks, registry entries, logs, or other forms of
13 forensic evidence on a storage medium that are necessary to draw an accurate conclusion is a dynamic

14 process. While it is possible to specify in advance the records to be sought, computer evidence is not

15 always data that can be merely reviewed by a review team and passed along to investigators. Whether

16 data stored on a computer is evidence may depend on other information stored on the computer and the

17 application of knowledge about how a computer behaves. Therefore, contextual information necessary to

18 understand other evidence also falls within the scope of the warrant.

19          99.     Further, in finding evidence of how a computer was used, the purpose of its use, who used
20 it, and when, sometimes it is necessary to establish that a particular thing is not present on a storage

21 medium. For example, the presence or absence of counter-forensic programs or anti-virus programs (and

22 associated data) may be relevant to establishing the user’s intent.

23          100.    Necessity of seizing or copying entire computers or storage media. In most cases, a
24 thorough search of a premises for information that might be stored on storage media often requires the

25 seizure of the physical storage media and later off-site review consistent with the warrant. In lieu of

26 removing storage media from the premises, it is sometimes possible to make an image copy of storage

27 media. Generally speaking, imaging is the taking of a complete electronic picture of the computer’s data,

28 including all hidden sectors and deleted files. Either seizure or imaging is often necessary to ensure the

       AFFIDAVIT
                                                          25
             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 28 of 31


 1 accuracy and completeness of data recorded on the storage media, and to prevent the loss of the data either

 2 from accidental or intentional destruction. This is true because of the following:

 3          101.   The time required for an examination. As noted above, not all evidence takes the form of
 4 documents and files that can be easily viewed on site. Analyzing evidence of how a computer has been

 5 used, what it has been used for, and who has used it requires considerable time, and taking that much time

 6 on premises could be unreasonable. As explained above, because the warrant calls for forensic electronic

 7 evidence, it is exceedingly likely that it will be necessary to thoroughly examine storage media to obtain

 8 evidence. Storage media can store a large volume of information. Reviewing that information for things

 9 described in the warrant can take weeks or months, depending on the volume of data stored, and would be

10 impractical and invasive to attempt on-site.

11          102.   Technical requirements. Computers can be configured in several different ways, featuring
12 a variety of different operating systems, application software, and configurations. Therefore, searching

13 them sometimes requires tools or knowledge that might not be present on the search site. The vast array

14 of computer hardware and software available makes it difficult to know before a search what tools or

15 knowledge will be required to analyze the system and its data on the Premises. However, taking the

16 storage media off-site and reviewing it in a controlled environment will allow its examination with the

17 proper tools and knowledge.

18          103.   Variety of forms of electronic media. Records sought under this warrant could be stored in
19 a variety of storage media formats that may require off-site reviewing with specialized forensic tools.
20          104.   Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
21 warrant I am applying for would permit seizing, imaging, or otherwise copying storage media that

22 reasonably appear to contain some or all of the evidence described in the warrant, and would authorize a

23 later review of the media or information consistent with the warrant. The later review may require

24 techniques, including but not limited to computer-assisted scans of the entire medium, that might expose

25 many parts of a hard drive to human inspection in order to determine whether it is evidence described by

26 the warrant.

27                                    IV.       REQUEST FOR SEALING
28          105.   It is respectfully requested that this Court issue an order sealing, until further order of the

      AFFIDAVIT
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             Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 29 of 31


 1 Court, all papers submitted in support of this application, including the application and search warrant. I

 2 believe that sealing this document is necessary because the items and information to be seized are relevant

 3 to an ongoing investigation into the criminal organizations as not all of the targets of this investigation will

 4 be searched at this time. Based upon my training and experience, I have learned that online criminals

 5 actively search for criminal affidavits and search warrants via the Internet, and disseminate them to other

 6 online criminals as they deem appropriate, i.e., post them publicly online through the carding forums.

 7 Premature disclosure of the contents of this affidavit and related documents may have a significant and

 8 negative impact on the continuing investigation and may severely jeopardize its effectiveness.

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 1                                          V.       CONCLUSION
 2          106.   I submit that this affidavit supports probable cause for a warrant to search the TARGET
 3 SUBJECTS, PREMISES, and VEHICLES described in each respective Attachment A and seize the items

 4 described in each respective Attachment B. Additionally, I submit that this affidavit supports probable

 5 cause for a complaint and arrest warrant against BENNER for a violation of 18. U.S.C. § 922(g)(1).

 6
                                                         Respectfully submitted,
 7

 8                                                           /s/
 9                                                       Nathan Cernat
                                                         Special Agent
10                                                       FBI

11

12    Subscribed and sworn to me via telephone on:      August 28, 2023

13

14    The Honorable Carolyn K. Delaney
      UNITED STATES MAGISTRATE JUDGE
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17

18    /s/ Adrian T. Kinsella
      Approved as to form by AUSA ADRIAN T. KINSELLA
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      AFFIDAVIT
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       Case 2:23-mj-00121-CKD Document 1 Filed 08/28/23 Page 31 of 31

                  United States v. JEREMY MICHAEL WARREN
                         Penalties for Criminal Complaint


VIOLATION:        18 U.S.C. § 922(g)(1) - Felon in possession of firearm

PENALTIES:        Not more than 15 years months,
                  Not more than $250,000 fine or both
                  A three-year term of Supervised Release

SPECIAL ASSESSMENT: $100 (mandatory on each count)
